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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION


UNITED STATES OF AMERICA


vs.                                                      CASE NO. 1:08-MJ-33-AK

ALBERTO TRAVIESA,


              Defendant.
                                         /


       ORDER OF DETENTION PENDING RESOLUTION OF STATE CHARGES


       The Court intended for Defendant to be released upon the posting of bond.

However, after the hearing, the Court learned that the related state court charges

remain pending, and therefore, until their resolution, this Court’s order of conditional

release must remain in limbo.

       Accordingly, it is ORDERED:

       That the United States Marshal shall keep Defendant in custody until

notified by the clerk or judicial officer that Defendant has posted bond and

complied with all other conditions for release and that the State charges

presently pending against him have been resolved. The defendant shall be

produced before the appropriate judicial office at the time and place specified, if

still in custody.




Date September      22nd        , 2008       s/ A. KORNBLUM
                                             ALLAN KORNBLUM
                                             UNITED STATES MAGISTRATE JUDGE
